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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    IN RE:                                                                Chapter 11 Case

    VITAL PHARMACEUTICALS, INC., et al.,1                                 Case No. 22-17842 (PDR)

             Debtors.                                                     (Jointly Administered)
                                                                 /

                                               CERTIFICATE OF SERVICE

        I, Serina Tran, depose and say that I am employed by Stretto, the claims and noticing agent
for the Debtors in the above-captioned cases.

        On May 2, 2023, at my direction and under my supervision, employees of Stretto caused
the following documents to be served via first-class mail on the service list attached hereto as
Exhibit A, via electronic mail on the service list attached hereto as Exhibit B:

          Amended Notice of Hearing re Motion to Extend Exclusivity Period for Filing a
           Chapter 11 Plan and Disclosure Statement and to Solicit Acceptances Thereof
           [Request for Hearing on May 4, 2023 at 2:00 p.m.] (1175) (Docket No. 1228)

          Agreed Order Approving the Assumption of Unexpired Commercial Lease with Taro
           Patch Holdings, LLC (Docket No. 1311)

          Debtors’ Ex Parte Omnibus Motion Pursuant to Section 365(d)(4)(B)(II) of the
           Bankruptcy Code to Approve Stipulations By and Among the Debtors and Lessors
           Regarding Extension of Time to Assume or Reject Unexpired Leases of
           Nonresidential Real Property (Docket No. 1312)

          Response to Objection [ECF No. 1255] and Supplement to Objection [ECF No. 1306]
           to Expedited Supplemental Application for Approval to Employ Grant Thornton
           LLP (Docket No. 1316)

          Second Supplemental Declaration of Mark Margulies in Support of Debtors’
           Supplemental Application for Approval to Employ Grant Thornton LLP to Provide
           Tax Examination Assistance, Effective March 6, 2023, and Expand the Scope of the
           Transaction Advisory Services to the Debtors, Effective April 11, 2023
           (Docket No. 1317)



____________________________________________
1
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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        Furthermore, on May 2, 2023, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit C, via electronic mail on the service list attached hereto as Exhibit D:

      Agreed Order Approving the Assumption of Unexpired Commercial Lease with Taro
       Patch Holdings, LLC (Docket No. 1311)

        Furthermore, on May 2, 2023, at my direction and under my supervision, employees of
Stretto caused the following document to be served via first-class mail on the service list attached
hereto as Exhibit E, via electronic mail on the service list attached hereto as Exhibit F:

      Debtors’ Ex Parte Omnibus Motion Pursuant to Section 365(d)(4)(B)(II) of the
       Bankruptcy Code to Approve Stipulations By and Among the Debtors and Lessors
       Regarding Extension of Time to Assume or Reject Unexpired Leases of
       Nonresidential Real Property (Docket No. 1312)

Dated: May 2, 2023                                          /s/ Serina Tran
                                                          Serina Tran
                                                          STRETTO
                                                          410 Exchange, Suite 100
                                                          Irvine, CA 92602
                                                          Telephone: 855-493-7375
                                                          Email: TeamVitalPharma@stretto.com
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                    Exhibit A
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                                                                                          Served via First-Class Mail


                                Name                               Attention                          Address 1                           Address 2                     City      State       Zip
             7-Eleven Inc.                         Attn: Legal Department               3200 Hackberry Rd                                                       Irving           TX       75063-0131
             ACAR Leasing Ltd d/b/a GM Financial   Attn: Lorenzo Nunez                  PO Box 183853                                                           Arlington        TX       76096
             AK Office of the Attorney General     Attn: Legal Department               1031 W 4th Ave Ste 200                                                  Anchorage        AK       99501
             AL Office of the Attorney General     Attn: Legal Department               501 Washington Ave                                                      Montgomery       AL       36104
             Americredit Financial GM Financial    Attn: Mandy Youngblood               PO Box 183853                                                           Arlington        TX       76096
             Americredit Financial Services Inc    Attn: Legal Department               801 Cherry St. #3500                                                    Fort Worth       TX       76102
             Americredit Financial Services Inc    Attn: Legal Department               PO Box 78143                                                            Phoenix          AZ       85062-8143
             AR Office of the Attorney General     Attn: Legal Department               323 Center St Ste 200                                                   Little Rock      AR       72201
             Ardagh Metal Beverage USA Inc.        Attn: Curt Rothlisberger             8770 W Bryn Mawr Ave Suite 175                                          Chicago          IL       60631-3515
             AZ Office of the Attorney General     Attn: Legal Department               2005 N Central Ave                                                      Phoenix          AZ       85004
             Ball Metal Beverage Container Corp    Attn: Legal Department               10 Longs Peak Dr                                                        Broomfield       CO       80021
             Belvac Production Machinery Inc.      Attn: Legal Department               237 Graves Mill Rd                                                      Lynchburg        VA       24502-4203
             Bevcorp LLC                           Attn: Legal Department               5655 Paysphere Cir                                                      Chicago          IL       60674
             BFG Corporation                       Attn: Legal Department               7211 N. McKinley Road                                                   Lake Forest      IL       60045
             Brendan Abbott and Peter Fischer      c/o Pack Law                         51 Northeast 24th Street Suite 108   Joseph A. Pack Jessey J. Krehl     Miami            FL       33137
             CA Office of the Attorney General     Attn: Legal Department               PO Box 944255                                                           Sacramento       CA       94244-2550
             Canon Financial Services Inc.         Attn: Legal Department               14904 Collections Center Drive                                          Chicago          IL       60693-0149
             Centurylink Communications LLC        Level 3 Communications CenturyLink   100 Centurylink Dr                                                      Monroe           LA       71203
             CO Office of the Attorney General     Attn: Legal Department               1300 Broadway, 10th Fl               Ralph L. Carr Judicial Building    Denver           CO       80203
             Crown Cork & Seal USA Inc             Christine J. Horn                    770 Township Line Rd                                                    Yardley          PA       19067-4219
             Crown Equipment Corporation           Attn: Legal Department               2971 Center Port Circle                                                 Pompano Beach    FL       33064
             Crown Equipment Corporation           Attn: Legal Department               PO Box 641173                                                           Cincinnati       OH       45264-1173
             Cryo-Lease LLC                        Attn: Legal Department               48 Pine Road                                                            Brentwood        NH       03833
             CT Office of the Attorney General     Attn: Legal Department               165 Capitol Avenue                                                      Hartford         CT       06106
             DeLage Landen Financial Services      Attn: Legal Department               PO Box 41602                                                            Philadelphia     PA       19101-1602
             Direct Connect Logistix Inc.          Leslie Maish                         130 S Meridian St                                                       Indianapolis     IN       46225-1046
             Doehler USA Inc.                      Paul Graham                          400 High Point Rd SE Suite 100                                          Cartersville     GA       30120-6610
             FL Office of the Attorney General     State of Florida                     The Capitol Pl 01                                                       Tallahassee      FL       32399
             Florida Department of Revenue         Attn: Legal Department               PO Box 6668                                                             Tallahassee      FL       32314
             Florida Office of Attorney General    Attn: Legal Department               The Capitol Pl-01                                                       Tallahassee      FL       32399-1050
             Fona International Inc.               Michelle Stehouwer                   1900 Averill Rd                                                         Geneva           IL       60134
             GA Office of the Attorney General     Attn: Legal Department               40 Capitol Sq SW                                                        Atlanta          GA       30334
             Graphic Packaging International       Kara D'Amato                         PO Box 404170                                                           Atlanta          GA       30384-4170
             GreatAmerica Financial Service Corp   Attn: Legal Department               PO Box 660831                                                           Dallas           TX       75266-0831
             Green Wave Ingredients (GWI)          Preciado Elizabeth                   PO Box 102922                                                           Pasadena         CA       91189-2922
             HI Dept of the Attorney General       Attn: Legal Department               425 Queen Street                                                        Honolulu         HI       96813
             Hitachi Capital America Corp.         Attn: Legal Department               21925 Network Place                                                     Chicago          IL       60673-1219
             ID Office of the Attorney General     Attn: Legal Department               700 W. Jefferson St, Suite 210                                          Boise            ID       83720
             IL Office of the Attorney General     Attn: Legal Department               100 W. Randolph St                   James R. Thompson Center           Chicago          IL       60601
             Indiana Attorney General's Office     Attn: Legal Department               302 W Washington St 5th Fl           Indiana Government Center South    Indianapolis     IN       46204
             Internal Revenue Service              Centralized Insolvency Operation     PO Box 7346                                                             Philadelphia     PA       19101-7346
             Internal Revenue Service              Ogden Service Center                 PO Box 409101                                                           Ogden            UT       84409
             Inventus LLC Legility                 Jo Anna Williams                     PO Box 130114                                                           Dallas           TX       75313-0114
             Iowa Office of the Attorney General   Attn: Legal Department               1305 E. Walnut Street Rm 109         Hoover State Office Building       Des Moines       IA       50319
             KS Office of the Attorney General     Attn: Legal Department               120 SW 10th Ave 2nd Fl                                                  Topeka           KS       66612
             KY Office of the Attorney General     Attn: Legal Department               700 Capitol Ave Ste 118              Capitol Building                   Frankfort        KY       40601
             LA Office of the Attorney General     Attn: Legal Department               1885 N. Third St                                                        Baton Rouge      LA       70802
             MA Office of the Attorney General     Attn: Legal Department               1 Ashburton Place, 20th Floor                                           Boston           MA       02108
             MD Office of the Attorney General     Attn: Legal Department               200 St. Paul Pl                                                         Baltimore        MD       21202
             ME Office of the Attorney General     Attn: Legal Department               6 State House Station                                                   Augusta          ME       04333
                                                                                                                             G. Mennen Williams Building, 7th
             MI Depart of the Attorney General     Attn: Legal Department               525 W Ottawa St                      Fl                                 Lansing          MI       48933
             Missouri Attorney General's Office    Attn: Legal Department               207 W High St                        Supreme Court Building             Jefferson City   MO       65101
In re: Vital Pharmaceuticals, Inc., et al.
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                               Name                              Attention                         Address 1                      Address 2              City     State       Zip
             MN Office of the Attorney General    Attn: Legal Department            445 Minnesota St Suite 1400                                   St. Paul        MN      55101
             Monster Energy Company               c/o Hueston Hennigan LLP          523 W 6th St, Ste 400            Attn: John C Hueston         Los Angeles     CA      90014
             MS Office of the Attorney General    Attn: Legal Department            550 High St Ste 1200             Walter Sillers Building      Jackson         MS      39201
             MT Office of the Attorney General    Attn: Legal Department            215 N. Sanders                   Justice Building, Third Fl   Helena          MT      59601
             NC Attorney General's Office         Attn: Legal Department            114 W Edenton St                                              Raleigh         NC      27603
             ND Office of the Attorney General    Attn: Legal Department            600 E Blvd Ave Dept 125          State Capitol                Bismarck        ND      58505
             NE Office of the Attorney General    Attn: Legal Department            2115 State Capitol                                            Lincoln         NE      68509
             Nelson Mullins Riley & Scarborough   Attn: Legal Department            1320 Main St Fl 17                                            Columbia        SC      29201-3268
             NH Office of the Attorney General    Attn: Legal Department            33 Capitol St.                   NH Department Of Justice     Concord         NH      03301
                                                                                                                     Richard J. Hughes Justice
             NJ Office of the Attorney General    Attn: Legal Department            25 Market St 8th Fl, West Wing   Complex                      Trenton         NJ      08611
             NM Office of the Attorney General    Attn: Legal Department            408 Galisteo Street              Villagra Building            Santa Fe        NM      87501
             NV Office of the Attorney General    Attn: Legal Department            100 N Carson St                  Old Supreme Court Building   Carson City     NV      89701
             NY Office of the Attorney General    Attn: Legal Department            The Capitol                                                   Albany          NY      12224
             Offcl Cmmttee Unsecured Creditors    c/o Warner Music Group Corp.      70 Music Sq. W. Ste 341          Attn: Matt Blum              Nashville       TN      37203
             Office of the Attorney General DC    Attn: Legal Department            441 4th St NW Suite 1100                                      Washington      DC      20001
             Ohio Attorney General's Office       Attn: Legal Department            30 E Broad St 14th Fl            State Office Tower           Columbus        OH      43215
             Oklahoma Tax Commission              Attn: Bankruptcy                  PO Box 269056                                                 Oklahoma City   OK      73126
             Orange Bang Inc.                     c/o Knobbe Martens Olson & Bear   2040 Main St 14th Floor          Attn: Steven J. Nataupsky    Irvine          CA      92614
             Oregon Department Of Justice         Attn: Legal Department            1162 Court St NE                                              Salem           OR      97301
             PA Office of the Attorney General    Attn: Legal Department            Strawberry Square 16th Fl                                     Harrisburg      PA      17120
             Pepsico                              Eric Hansen                       15 Melanie Ln                                                 East Hanover    NJ      07936
             Premier Distributing Company         Julie Ryan                        1017 Santa Fe                                                 Clovis          NM      88101
             Priority-1 Inc                       Attn: Legal Department            1800 E Roosevelt Rd                                           Little Rock     AR      72206-2516
             QuikTrip Corporation                 Attn: Legal Department            4705 S 129th East Ave                                         Tulsa           OK      74134-7005
             RI Office of the Attorney General    Attn: Legal Department            150 S Main St                                                 Providence      RI      02903
             SC Office of the Attorney General    Attn: Legal Department            1000 Assembly St Rm 519          Rembert C. Dennis Bldg       Columbia        SC      29201
             SD Office of the Attorney General    Attn: Legal Department            1302 E Highway 14 Ste 1                                       Pierre          SD      57501
             SDFL Attorneys Office                Attn: Legal Department            99 NE 4th St                                                  Miami           FL      33128
             SDFL US Trustee                      Attn: J. Steven Wilkes            51 SW 1st Ave                                                 Miami           FL      33130
             Securities & Exchange Commission     Attn: Legal Department            100 F Street NE                                               Washington      DC      20549
             Securities & Exchange Commission     Attn: Regional Director           500 T Rex ave                    Ste 300                      Boca Raton      FL      33431-4491
             Securities & Exchange Commission     Office of Reorganization          950 E Paces Ferry Rd NE          Suite 900                    Atlanta         GA      30326-1382
                                                                                                                     James Sammataro Brendan
             Sony                                 c/o Pryor Cashman LLP             255 Alhambra Circle 8th Floor    Everman                      Miami           FL      33134
                                                                                                                     Seth L David R Stephanie C
             Sony                                 c/o Pryor Cashman LLP             7 Times Square 40th Floor        Sameer A                     New York        NY      10036-6569
             Speedway LLC                         Chris Johnson                     PO Box 7600                                                   Springfield     OH      45501-7600
             Stellar Group Inc.                   Derek Bickerton                   2900 Hartley Rd                                               Jacksonville    FL      32257-8221
                                                                                                                                                  Cottonwood
             TFG-Leasing Fund III LLC             Attn: Legal Department            6995 Union Park Center           Suite 400                    Heights         UT      84047
             The American Bottling Company        c/o Swartz Campbell LLC           300 Delaware Avenue, Ste 1410    Attn: Joseph S. Naylor       Wilmington      DI      19801
             The Huntington National Bank         Attn: Legal Department            7 Easton Oval                                                 Columbus        OH      43219
             The Huntington National Bank         Attn: Legal Department            PO Box 9                                                      Buffalo         NY      14240
             TN Office of the Attorney General    Attn: Legal Department            301 6th Ave N                                                 Nashville       TN      37243
             Total Quality Logistics LLC TQL      Nicholas Montenarello             PO Box 634558                                                 Cincinnati      OH      45263-4558
             Trinity Logistics Inc.               Laura Dukes                       50 Fallon Ave                                                 Seaford         DE      19973-1578
             Truist Bank                          Agency Services Manager           Agency Services                  303 Peachtree St NE          Atlanta         GA      30308
             Truist Bank                          Attn: Aimee Kilgore               50 N Laura St                                                 Jacksonville    FL      32202
             Truist Bank                          Attn: Legal Department            10500 Little Patuxent Pkwy       Ste 450                      Columbia        MD      21046
             Truist Bank                          c/o Moore & Van Allen             Steve Gruendel & Luis Lluberas   100 N Tryon St               Charlotte       NC      28202-4003
             TX Office of the Attorney General    Attn: Legal Department            300 W. 15Th St                                                Austin          TX      78701
             U.S. Bank Equipment Finance          Attn: Legal Department            1310 Madrid Street                                            Marshall        MN      56258
In re: Vital Pharmaceuticals, Inc., et al.
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                              Name                               Attention                          Address 1                            Address 2               City     State      Zip
                                                                                                                            James G. Sammataro Brendan
             UMG                                   c/o Pryor Cashman LLP               255 Alhambra Circle 8th Floor        Everman                      Miami            FL      33134
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             UMG                                   c/o Pryor Cashman LLP               7 Times Square 40th Floor            Alifarag                     New York         NY      10036-6569
             US Attorney’s Office DE               Attn: David C. Weiss                1313 N. Market Street, Suite 400     Hercules Building            Wilmington       DE      19801
             Utah Office of the Attorney General   Attn: Legal Department              350 North State St Ste 230           Utah State Capitol Complex   Salt Lake City   UT      84114
             VA Office of the Attorney General     Attn: Legal Department              202 N. Ninth St.                                                  Richmond         VA      23219
             Varni Brothers Corporation            Ray Morales Tony Varni Mike Varni   400 Hosmer Ave                                                    Modesto          CA      95351-3920
             Vermont Attorney General's Office     Attn: Legal Department              109 State St.                                                     Montpelier       VT      05609
             WA Office of the Attorney General     Attn: Legal Department              1125 Washington St SE                                             Olympia          WA      98501
             Webb & Gerritsen                      Attn: Legal Department              1308 Poplar Dr                                                    Waukesha         WI      53188
             Webbank                               Attn: Legal Department              6440 S. Wasatch Blvd.                Suite 300                    Salt Lake City   UT      84121
             Wild Flavors Inc.                     Mike Schneider                      1261 Pacific Ave                                                  Erlanger         KY      41018
             Wisconsin Attorney General's Office   Attn: Legal Department              114 E State Capitol                                               Madison          WI      53702
             WV Office of the Attorney General     Attn: Legal Department              State Capitol, 1900 Kanawha Blvd E   Building 1 Rm E-26           Charleston       WV      25305
             WY Office of the Attorney General     Attn: Legal Department              2320 Capitol Ave                     Kendrick Building            Cheyenne         WY      82002
             XPO Global Forwarding Inc             Attn: Legal Department              13777 Ballantyne Corporate Place     Suite 400                    Charlotte        NC      28277




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                                        Name                                             Attention 1                                         Attention 2                                      Email
                                                                                                                                                                             jparrish@bakerlaw.com
                                                                                                                                                                             orlbankruptcy@bakerlaw.com
         1600FLL LLC                                                c/o Baker & Hostetler LLP                            Attn: Jimmy D. Parrish, Esq.                        cmartin@bakerlaw.com
         ACAR Leasing Ltd. d/b/a GM Financial Leasing               Attn: Lorenzo Nunez                                                                                      customer.service.bk@gmfinancial.com
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                                                                                                                                                                             info@lss.law
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         All Brands Distribution, LLC                               c/o LSS Law                                          Attn: Zach B. Shelomith, Esq.                       zshelomith@ecf.inforuptcy.com
                                                                    Acct: 4499, 5811, 6046, 5715, 3867, 7440, 2062,
                                                                    6900, 0837, 1283, 8213, 6602, 7541, 1808, 4817,
                                                                    6298, 1312, 1341, 7332, 5229, 3157, 4161, 9807,
                                                                    3356, 3379, 3379, 3441, 1307, 4946, 4948, 4879,
                                                                    4930, 4863, 5007, 4883, 4868, 5081, 5112, 3154,
         Ally Bank Department c/o AIS Portfolio Services LLC        7954, 9930, 0158                                     Attn: Arvind Nath Rawal                           ecfnotices@aisinfo.com
         AmeriCredit Financial Services, Inc. d/b/a GM Financial    Attn: Mandy Youngblood                                                                                 customer.service.bk@gmfinancial.com
                                                                                                                                                                           rbruckmann@shumaker.com
         Ardagh Metal Packaging USA Corp. f/k/a Ardagh Metal                                                             Attn: Ronald Bruckmann, Esq. & David H. Conaway, dconaway@shumaker.com
         Beverage USA Inc.                                          c/o Shumaker Loop & Kendrick LLP                     Esq.                                              celgin@shumaker.com
                                                                                                                                                                           rconfreda@mcglinchey.com
         Balboa Capital Corporation                                 c/o McGlinchey Stafford                              Attn: Ralph W. Confreda, Jr., Esq.                alozada@mcglinchey.com
                                                                                                                                                                           iross@sidley.com
         Ball Metal Beverage Container Corp.                        c/o Sidley Austin LLP                                Attn: Ian M. Ross, Esq.                           pvilla@sidley.com
                                                                                                                                                                           joe@packlaw.com
         Brendan Abbott and Peter Fischer                           c/o Pack Law                                         Attn: Joseph A. Pack, Jessey J. Krehl             jessey@packlaw.com
                                                                                                                                                                           sandron@broward.org
         Broward County, Florida                                    c/o the Records, Taxes & Treasury Division           Attn: Andrew J. Meyers & Scott Andron             swulfekuhle@broward.org
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         Carolina Canners, Inc. [Southeast Cold Fill, LLC, NoSo                                                                                                            scott@kelleylawoffice.com
         Holdings, LLC]                                             c/o Kelley Fulton Kaplan & Eller PL                  Attn: Craig I. Kelley, Esq., C. Craig Eller, Esq. celler@kelleylawoffice.com
         Carrollton-Farmers Branch ISD                              c/o Perdue Brandon Fielder Collins & Mott LLP        Attn: Linda D. Reece                              lreece@pbfcm.com
         Chestnut Hill Technologies, Inc.                           c/o Underwood Murray, P.A.                           Attn: Megan W. Murray, Esq.                       mmurray@underwoodmurray.com
         CI421 4747 W. Buckeye LLC, ALDA 4747 W. Buckeye LLC,
         and MFP 4747 W. Buckeye LLC                                c/o Raines Feldman LLP                               Attn: Hamid R. Rafatjoo                             hrafatjoo@raineslaw.com
         Circle K Procurement and Brands, Ltd. & Circle K Stores,
         Inc.                                                       c/o Chipman Brown Cicero & Cole, LLP                 Attn: Robert A. Weber, Esq.                         weber@chipmanbrown.com
         Circle K Procurement and Brands, Ltd. & Circle K Stores,
         Inc.                                                       c/o Bast Amron LLP                                   Attn: Dain De Souza, Esq., Jamie B. Leggett, Esq.   ddesouza@bastamron.com
         CM Builders, Inc. dba Integrated Masonry                   c/o Radix Law                                        Attn: Carolyn R. Tatkin                             tatkin@radixlaw.com
                                                                                                                                                                             jmarkowitz@mrthlaw.com
                                                                                                                                                                             ycandia@mrthlaw.com
                                                                                                                                                                             rrubio@mrthlaw.com
                                                                                                                                                                             mrthbkc@gmail.com
                                                                                                                                                                             gruiz@mrthlaw.com
         CM Builders, Inc., d/b/a Integrated Masonry                c/o Markowitz, Ringel, Trusty & Hartog, P.A.         Attn: Jerry M. Markowitz, Esq.                      jmarkowitz@ecf.courtdrive.com
                                                                                                                                                                             christine.horn@crowncork.com
                                                                                                                                                                             jake.soumis@crowncork.com
         Crown Cork & Seal USA, Inc                                 Christine J. Horn & Jake Soumis                                                                          nick.osborne@crowncork.com
                                                                                                                                                                             aaaronson@dilworthlaw.com
         Crown Cork & Seal USA, Inc.                                c/o Dilworth Paxson LLP                              Attn: Anne M. Aaronson, Esq.                        ctomlin@dilworthlaw.com
         Cryo-Lease, LLC                                                                                                                                                     cryo-lease@chartindustries.com
In re: Vital Pharmaceuticals, Inc., et al.
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                                      Name                                              Attention 1                                          Attention 2                                          Email
                                                                                                                                                                                romeroe@bclplaw.com
         Dairy Farmers of America, Inc.                            c/o Bryan Cave Leighton Paisner LLP                    Attn: Ezequiel J. Romero, Esq.                        zeke.romero30@gmail.com
                                                                                                                                                                                rjhoffman@bclplaw.com
                                                                                                                          Attn: Robert J. Hoffman, Laurence M. Frazen, Esq., lmfrazen@bclplaw.com
         Dairy Farmers of America, Inc.                            c/o Bryan Cave Leighton Paisner LLP                    & William J. Easley, Esq.                             will.easley@bclplaw.com
         Dallas County                                             c/o Linebarger Goggan Blair & Sampson, LLP             Attn: John K. Turner                                  dallas.bankruptcy@lgbs.com
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                                                                                                                                                                                romeroe@bryancave.com
         Doehler USA Inc. and Dohler Dahlenburg G.m.b.H            c/o Bryan Cave Leighton Paisner LLP                    Attn: Ezequiel J. Romero, Esq.                        zeke.romero30@gmail.com
         Doehler USA Inc. and Dohler Dahlenburg G.m.b.H            c/o Bryan Cave Leighton Paisner LLP                    Attn: Jarret P. Hitchings, Esq.                       jarret.hitchings@bclplaw.com
         Doehler USA Inc. and Dohler Dahlenburg G.m.b.H            c/o Bryan Cave Leighton Paisner LLP                    Attn: Robert J. Lystad, Esq.                          robert.lystad@bclplaw.com
         Doehler USA, Inc.                                         Paul Graham                                                                                                  paul.graham@doehler.com
                                                                                                                                                                                tabrams@tabramslaw.com
         EastGroup Properties, LP                                  c/o Gamberg & Abrams                                   Attn: Thomas L. Abrams, Esq.                          fcolumbo@tabramslaw.com
         EFL Global and EFL Global Logistics Canada, Ltd           c/o Gibbons P.C.                                       Attn: Brett S. Theisen                                btheisen@gibbonslaw.com
         EFL Global and EFL Global Logistics Canada, Ltd           c/o Gibbons P.C.                                       Attn: Kevin R. Reich                                  kreich@gibbonslaw.com
         EFL Global and EFL Global Logistics Canada, Ltd           c/o Gibbons P.C.                                       Attn: Philip W. Crawford, Esq.                        pcrawford@gibbonslaw.com
         EVOX FL Pembroke 20351 LLC                                c/o Davis Graham & Stubbs LLP                          Attn: Kyler K. Burgi                                  kyler.burgi@dgslaw.com
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                                                                          Exhibit D
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